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              EXHIBIT D
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Civil Action No. 3:12-CV-0299-JST

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                    .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                   for services, for a total of $         0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                        Server’s signature



                                                                                      Printed name and title




                                                                                         Server’s address

Additional information regarding attempted service, etc:
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                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction         which may include lost            documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees        on a party or attorney             course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises       or to producing electronically stored            information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person         except that,           (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                             SCHEDULE A TO CIVIL SUBPOENA

                                        INTRODUCTION

        For a statement of Your obligation in producing someone for deposition under this subpoena,
please see Rule 45(d)(l) and (2) of the Federal Rules of Civil Procedure, which appears on the final
page of the subpoena.

                             DEFINITIONS AND INSTRUCTIONS

   1. “Pixart,” “You,” or “Your” means Pixart Imaging, Inc. and all predecessors, subsidiaries,
      joint ventures, parents, affiliates, and other legal entities that are wholly or partially
      owned or controlled by Pixart, either directly or indirectly, and including but not limited
      to all past or present directors, officers, agents, employees, consultants, attorneys, and
      others acting on behalf of these same entities.

   2. As used herein, “Round Rock” means Round Rock Research, LLC.

   3. As used herein, “Plaintiff” means ASUSTeK Computer, Inc. and ASUS Computer
      International.

   4. As used herein, “this Action” means ASUS Computer International v. Round Rock
      Research, LLC and Round Rock Research, LLC v. ASUSTeK Computer, Inc. and ASUS
      Computer International, Civil Action No. 3:12-cv-02099-WHA, in the United States
      District Court for the Northern District of California.

   5. As used herein, “Products” means any Pixart image sensor, which You either
      manufacture(d), sell, sold, or offered to sell to Plaintiff since 2005, or which Plaintiff has
      in any other way procured through You directly or via any other entity, including but not
      limited to the Pixart PAS6311LT image sensor.

   6. “Person” means any natural person or individual, and any and all legal entities, including
      without limitation, corporations, companies, firms, partnerships, joint ventures,
      proprietorships, associations, governmental bodies or agencies, or other form of business
      enterprise.

   7. As used herein, “communication” means any transmission of information by one or more
      persons and/or between two or more persons by any means, including telephone
      conversations, letters, telegrams, teletypes, telexes, telecopies, electronic mail, other
      computer linkups, written memoranda, and face-to-face conversations.

   8. As used herein, “and” and “or” shall be construed conjunctively and disjunctively, so as
      to acquire the broadest possible meaning.

   9. The term “any” includes “all,” and the term “all” includes “any,” and the terms “any” and
      “all” shall each be construed to mean “each and every,” so as to acquire the broadest possible
      meaning.
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10. As used herein, “include” and “including” shall be construed to mean “without
    limitation,” so as to acquire the broadest possible meaning.

11. The singular of any term includes the plural of that term, and the plural includes the singular.

12. The singular and masculine form of a noun or pronoun shall embrace, and shall be read
    and applied as, the plural or the feminine or neuter, as the particular context makes
    appropriate and to give the noun or pronoun the broadest possible meaning.

13. As used herein, “relating to” means, without limitation, identifying, describing,
    discussing, concerning, assessing, stating, reflecting, constituting, containing,
    embodying, tending to support or refute, or referring directly or indirectly to the
    particular subject matter identified.

14. The term “concerning” means identifying, referring to, concerning, regarding evidencing,
    demonstrating, summarizing, reflecting, constituting, containing, embodying, mentioning,
    pertaining to, commenting upon, connected with, discussing, describing, analyzing, showing,
    comprising, or relating to in any relevant way to a particular subject, in whole or in part,
    either directly or indirectly.

15. The document requests herein shall be deemed to include any and all relevant documents
    within the possession, custody or control of Pixart, including documents located in the
    files of any and all past and present association members, subsidiaries, parents, sisters,
    partnerships, directors, officers, agents, representatives, employees, attorneys, and
    accountants of Pixart.

16. “Document” shall have the broadest meaning and scope ascribed under Rule 34 of the
    Federal Rules of Civil Procedure, and include all tangible things which come within the
    meaning of the terms “writings and recordings”" as used in Federal Rule of Evidence 1001
    and all electronically stored information. A draft or non-identical copy is a separate
    document within the meaning of this term.

17. If, after conducting a reasonable investigation, a full answer cannot be provided for any
    request for the production of documents, state that such is the case and answer to the
    fullest extent possible, stating what responsive documents or information are available,
    what documents or information cannot be provided, why the documents or information
    are unavailable, and what efforts were made to obtain the unavailable documents or
    information.

18. If any of the documents requested herein are no longer in Your possession, custody or
    control, You shall identify each such requested document by date, type of document,
    person(s) from whom sent, person(s) to whom sent, and person(s) receiving copies, and
    to provide a summary of its pertinent contents.

19. If any document responsive to these requests has been destroyed, describe the content of
    such document, the location of any copies of such document, and the date of such
    destruction.
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20. “Production Subpoena” shall mean the Subpoena for production of documents issued by
    Round Rock on You on September 12, 2013
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                                    DEPOSITION TOPICS

    You are required to provide one or more individuals who are knowledgeable and competent
to provide testimony about the following topics:

   1. Your efforts to collect and locate documents and things responsive to the Production
      Subpoena.

   2. Your policies, practices and/or procedures for publishing and maintaining the documents
      requested for production in the Production Subpoena.

   3. The factual background and circumstances related to Your policies, practices and/or
      procedures for publishing and maintaining the documents requested for production in the
      Production Subpoena.

   4. The promulgation of the documents requested for production in the Production Subpoena
      to Round Rock.

   5. Confirm whether the documents requested for production in the Production Subpoena are
      true and correct copies, are made at or near the time by someone with knowledge, are
      kept in the ordinary course of business, and that making and maintaining those
      documents is part of Your regular business practice.

   6. Any and all sales of any of the Products to the Plaintiff, or procurement of any of the
      Products by the Plaintiff from You, including but not limited to knowledge of sales
      records, shipment records, and bills of lading.

   7. The manufacturing or fabrication of any of the Products, including but not limited to
      knowledge of manuals, schematics, technical specifications, and technical reports.

   8. The operation or use of any of the Products, including but not limited to knowledge of
      manuals, schematics, datasheets, user guides, technical specifications, and technical
      reports.

   9. Identification of all the Products, including internal working names, external names,
      commercially used names, and code names.

   10. The identity of all the manufacturers for all Products and their components, including any
       third party manufacturers.

   11. The identity of the locations relating to the design, assembly, fabrication, and
       manufacture of any of the Products.

   12. The process by which any materials, ingredients, or components (including but not
       limited to any wafers or semiconductors) are employed, used, or assembled in the
       manufacturing or fabrication process of any Products, including but not limited to any
       image sensor.
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13. The training of any Person involved in the process of manufacturing the Products,
    including but not limited to the processes of chemical mechanical polishing (CMP), dry
    etching, metals deposition, any type of chemical vapor deposition (CVD),
    photolithography, ion implantation, plasma deposition, and ion milling.

14. The identify the manufacturers of any equipment used in any process relating to the
    manufacture, assembly, or fabrication of any Products (including any image sensor),
    including but not limited to the processes of CMP, dry etching, metals deposition, any
    type of CVD, photolithography, ion implantation, plasma deposition, and ion milling.

15. Communications between Plaintiff and You relating to Round Rock.

16. Communications between Plaintiff and You relating to the Products.

17. Communications between Plaintiff and You relating to this Action.

18. Any request for indemnification by Plaintiff in connection with patent infringement
    claims asserted by Round Rock.

19. Your marketing, advertising, or promotion of the Products.

20. The market demand for the Products including, but not limited to, knowledge of market
    studies, technical reports, consultant reports, surveys, and any reports or studies relating
    to customer demand of any Products’ features or decisions to include or exclude any such
    features for any Products.

21. The design and structure of the image sensors contained in the Products, including the
    arrangement of the photodiodes, light sensing elements, color filters, and/or antireflection
    coatings.

22. The composition of the photodiodes, light sensing elements, color filters, and/or
    antireflection coatings of the image sensors contained in the Products.

23. The design and structure of the image sensors contained in the Products, including the
    arrangement of the pixel cells, photodiodes, light sensing elements, passivation layers,
    metallization layers, oxide passivation layers, nitride passivation layers, color filters,
    and/or lenses.

24. The composition of the pixel cells, photodiodes, light sensing elements, passivation
    layers, metallization layers, oxide passivation layers, nitride passivation layers, color
    filters, and/or lenses of the image sensors contained in the Products.

25. The process of constructing or forming, including the use of any planarization techniques,
    the pixel cells, photodiodes, light sensing elements, passivation layers, metallization
    layers, oxide passivation layers, nitride passivation layers, color filters, and/or lenses, of
    the image sensors contained in the Products.
